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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION


UNITED STATES OF AMERICA,       )
                                )
           Plaintiff,           )                      Civil No. 4:18-cv-00344
                                )
v.                              )
                                )
TODD HUFF; IOWA FINANCE         )
AUTHORITY; and AREA 15 REGIONAL )
PLANNING COMMISSION,            )
                                )
           Defendants.          )

                                           COMPLAINT

         COMES NOW the Plaintiff, United States of America, by Marc Krickbaum, United

States Attorney for the Southern District of Iowa, and through William C. Purdy, Assistant

United States Attorney for this District, and for its cause of action alleges:

         1.    This is a civil action in rem brought by the United States of America on behalf of

the Small Business Administration (SBA), an Agency of the United States, under the provisions

of 28 U.S.C. § 1345.

         2.    The real property which is the subject of this action is located in Ottumwa,

Wapello County, Iowa.

         3.    The Defendants may be served as follows:

               a. The Defendant, Todd Huff (borrower), may be served by delivering a copy of

the summons and complaint to him in Wapello County, Iowa, within the jurisdiction of this

court.

               b. The Defendant, Iowa Finance Authority, may be served by delivering a copy

of the summons and complaint to its Executive Director, David Jamison, at 2015 Grand Ave.,

Des Moines, Iowa, 50312.
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               c. The Defendant, Area 15 Regional Planning Commission, may be served by

delivering a copy of the summons and complaint to its Executive Director, Chris Bowers, at 224

East Second Street, P.O. Box 1110, Ottumwa, Iowa 52501

       4.      The Defendant, Todd Huff, executed a promissory note (Note) dated November 4,

2008, in the principal amount of $100,100.00 at 2.687% per annum to the SBA. A true and

correct copy of the Note dated November 4, 2008, is attached as Exhibit A.

       5.      On January 13, 2009, the Defendant, Todd Huff, executed a First Modification of

Note in the principal amount of $133,800.00 at 2.687% per annum to the SBA. A true and

correct copy of the First Modification of Note is attached as Exhibit B.

       6.      To secure payment of the above referenced Note and First Modification of Note,

the Defendant, Todd Huff, executed and delivered a real estate mortgage to the SBA dated

February 18, 2009, upon certain real estate in Wapello County, Iowa, within the jurisdiction of

this Court, to-wit:

               All that part of the Southeast Quarter of the Southeast Quarter of
               Section Two (2), lying Southeast of the Public Highway as now
               located and running through said forty acres, containing about
               4 ½ acres; also a tract of land described as follows:

               Beginning at a point 540 feet North of the Southeast corner of said
               Southeast Quarter of the Southeast Quarter of said Section 2;
               thence West to the West side of the road being the point of
               beginning, thence Westerly 585 feet to a point that is 300 feet
               directly north of the northwest side of said road; thence South 300
               feet to the Northwest side of said road; thence Northeasterly along
               the Northwest side of said road to the place of beginning, all in
               Section Two (2), Township Seventy-one (71) North, Range
               Fourteen (14) West of the 5th P.M., in Wapello County, Iowa.
               Subject to an easement to Wapello Rural Water Association and
               found in Book 386, Page 668.

               More commonly known as 6175 Point Isabelle, Ottumwa, Iowa
               52501




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This mortgage was recorded in the office of the Recorder of Wapello County, Iowa, on February

24, 2009, in Book 2009, Page 0747. A true and correct copy of the mortgage is attached as

Exhibit C.

        7.      Plaintiff is the owner and holder of the Note, First Modification of Note and real

estate mortgage, Exhibits A-C.

        8.      Defendant Todd Huff is the owner and holder of said real property described

above. A true and correct copy of the Warranty Deed associated with the real property is

attached as Exhibit D.

        9.      Defendant Todd Huff has failed to pay Plaintiff installments of principal and

interest when due, in violation of the provisions of the Notes and Mortgage. Plaintiff gave notice

of default and accelerated the indebtedness on August 9, 2016, and made demand for payment in

full. No payment has been received. A true and correct copy of the Notice of Default and

Acceleration of Promissory Note is attached as Exhibit E.

        10.     Defendant Todd Huff owes Plaintiff under the provisions of the Note, the First

Modification of the Note, and the real estate Mortgage the amount of (1) $99,734.93 in principal

and (2) interest of $6,487.48 as of October 1, 2018, with interest accruing therefrom at the daily

rate of $7.34 per day to the date of judgment and the legal rate thereafter, plus (3) any additional

costs of this action. A true and correct copy of the loan account balance is attached as Exhibit F.

        12.     No other action has been brought for the recovery of the balance due.

        13.     The following defendants may claim an interest in the subject real estate subject

to this foreclosure:

                a. The Defendant, Iowa Finance Authority, may claim an interest pursuant to a

“Retention Agreement and Deed Restrictions” executed by Defendant, Todd Huff, on December




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23, 2008, and filed with the Wapello County Recorder on January 7, 2009, in book 2009, Page

0074, for value received of $7,887.00.

                 b. The Defendant, Area 15 Regional Planning Commission, may claim an

interest pursuant to a “Retention Agreement and Deed Restrictions” executed by Defendant,

Todd Huff, on December 23, 2008, and filed with the Wapello County Recorder on January 7,

2009, in book 2009, Page 0074, for value received of $7,887.00.

          14.    The interests of the Defendants are junior and inferior to the interests of the

Plaintiff.

          15.    The Defendants do not have a right to redemption after the foreclosure sale

herein.

          WHEREFORE, the Plaintiff prays for judgment in rem against the real property of the

Defendant, Todd Huff, in the amount of (1) $99,734.93 in principal; and (2) interest of $6,487.48

as of October 1, 2018, with interest accruing therefrom at the daily rate of $7.34 per day to the

date of judgment and the legal rate thereafter, plus (3) the costs for continuing the abstract and

(4) any additional costs of this action.

          The Plaintiff further prays that the Court enter a decree establishing the priority of

Plaintiff’s mortgage upon the real property and prior to the liens, titles, or other interests of the

Defendants, for the full amount of the judgment, including interest from the date of judgment at

the legal rate until paid in full; plus costs of this action; and that such judgment be decreed a lien

on the mortgaged property described in Exhibit C.

          The Plaintiff further prays that all legal right, title, and interest which Defendant, Todd

Huff, has in the real property be sold at public sale in accordance with 28 U.S.C. §§ 2001-2003,

inclusive, and that the sale be subject to any unpaid real estate taxes or special assessments, and

that the sale proceeds be applied in the following order:

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       (1)     Filing fees allowed pursuant to 28 U.S.C. § 2412(a)(2);

       (2)     The costs of the sale and of this action;

       (3)     The interest accruing on the Plaintiff’s judgment in rem against the real property

               of the Defendant, Todd Huff;

       (4)     The Plaintiff’s judgment in rem against the real property of the Defendant, Todd

               Huff; and

       (5)     The balance, if any, be brought into this Court to await its further order.

       Plaintiff further prays that all right, title, and interest in and to the real property of

Defendant, Todd Huff, and of all persons claiming by, through, or under him be decreed to be

junior and inferior to the Plaintiff’s mortgage and be absolutely barred and foreclosed.

       Plaintiff further prays that as provided by said mortgage and allowed by applicable law,

all rights of redemption be waived, barred and foreclosed.

       If the purchaser of the real property be denied possession, the Plaintiff prays that a Writ

of Assistance issue out of this Court upon the filing of a proper Praecipe, therefore and without

further order of this Court, place the purchaser of the real property in peaceable possession

thereof.

                                                 Respectfully submitted,

                                                 Marc Krickbaum
                                                 United States Attorney

                                        By:
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